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United States District Court OCT ~ 8 2019
SOUTHERN DISTRICT OF TEXAS - ;
MCALLEN DIVISION David. Bradley, Clerk
UNITED STATES OF AMERICA | - GRIMINAL COMPLAINT
Benito Lopez Ill Principal | ; Case Number:
—_ YOB: 1976 —_UnitedStates = (wt M-19- 73 76-M

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my’
knowledge and belief. On or about October 1,2019 in Hidalgo = County, in
the _ Southern District of Texas defendants(s) did,

(Track Statutory Language. of Offense)

knowing or in reckless disregard of the fact that Maria Cubias-Flores, a citizen ard national of Guatemala, and
Roberto Fabian Berrezueta-Pesantez, a citizen and national of Ecuador, along with six (6) other

undocumented aliens, for a total of eight (8), who had entered the United States in violation of law, concealed,
harbored or shielded from detection or attempted to conceal, harbor, or-shield from detection such aliens in
any place, including any building or means of transportation, to wit; a residence in Los Ebanos, Texas,

in violation of Title Ss United States Code, Section(s) . 1324(a)(1)(A)(iii) FELONY |
I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

 

On October 1, 2019, a Border Patrol Agent was approached by a concerned citizen who provided information
regarding eight (8) to ten (10) suspected undocumented aliens hiding at a property located at 180 Federico Flores
Street, in Escobares, Texas. The concerned citizen stated that he was hired to do work on the property and observed
several people concealed in a i bathroom. The information was relayed to nearby agents who responded to the
property.

SEE ATTACHMENT

rad on the attached sheét and made a part of this complaint:  [X]Yes [_]No

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‘4 [0-$-{ 4 MEM | wath

 

 

JonM. Chan _.- Senior Patrol Agent.
Sworn to before me and subscribed in my presence, . Printed Name of Complainant
10/03/2019 ; ey 3 $ 72 AN at McAllen, Texas

 

 

Date — —F e- Onn
PeterE. Ormsby __. WU. S. Magistrate Judge

Name and Title of Judicial Officer S%nature of Judicial Offi icer
Case 719-6 Agr FEB STATES BISTRICFEOURT P9°2 °°
SOUTHERN DISTRICT OF TEXAS ©
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-737% -M

RE: Benito Lopez Ill

CONTINUATION:

At the property, agents made contact with a male subject who claimed to be renting a residence on the
property. The property consist of two residential structures with one garage type structure located between
both residences. Agents requested permission to search the property for illegal aliens who were believe to be
hiding on the property. The male subject eventually declined the agents request to search the property.
During the encounter, an additional male subject approached the conversation. Agents recognized the male
subject as Benito Lopez If, a United States Citizen who is believed to be involved in alien smuggling. Agents

‘departed the residence and began to conduct surveillance on the property. : °

Approximately thirty (30) minutes later, agents observed several subjects exiting the rear area of the property
and crossing the fence. Agents converged on the area and apprehended a total of eight (8) subjects. The
agents questioned the subjects and determined them to be illegally _ present in the United States. The
subjects were placed under arrest and transported to the McAllen Border Patrol Station for processing.

Material Witnesses Statements:

Maria Cubias-Flores, a citizen of Guatemala, and Roberto Fabian Berrezueta-Pesantez, a citizen of Ecuador,
were advised of their Miranda Rights, stated they understood their rights, and agreed to provide a statement.

Maria Cubias-Flores claimed she paida smuggler approximately $7,500 to be smuggled to Maryland. Cubias,
with a group of approximately eleven (11) other people, crossed the Rio Grande River using two (2) rafts.
Once in the United States, the group waited for several minutes before following a foot guide across a road
and entering a property with several structures. Cubias stated that the group was eventually instructed to
enter a small bathroom located inside a garage type structure.

After several minutes, a bald male subject with a beard, made contact with a young male subject in the group.
Cubias stated that she believed the bald male subject was involved in the smuggling event because he was
usually on the phone, communicating with smugglers in Mexico. Cubias claimed that on several occasions,
the bald male subject made contact with the young male subject in the group. Cubias stated that they were
instructed to leave the area and exited the bathroom through a window. Cubias indicated that they were
apprehended by Immigration shortly after.

Cubias was presented witha photo lineup and identified Bentio Lopez Ill, as the bald male subject with a
beard, who was involved in the smuggling event.

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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
, M-19-2:378 -u

RE: Benito Lopez Ill

CONTINUATION:

"Roberto Fabian Berrezueta-Pasantez calimed he paid $7,500 to be smuggled to New York. Berrezueta
crossed the Rio Grande River with a group of sixteen (16) people, on two (2) rafts. Once in the United States,
the group followed a foot guide across a road and entered an adjacent property with several structures. The
group was eventually led into a small bathroom located ina building Berrezueta described as a workshop.
After a few hours, the foot guide was instructed to get them out of the structure as soon as possible because
Immigration was parked outside the property. Berrezueta and the group exited the structure through a
window and attempted to abscond.

Berrezueta claimed that a male subject with a long beard was responsible for the group. This male subject
had instructed the group not to move or to make any noise.

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